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6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                  )      Case №: 1:24-mj-00121-3-EPG
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11    ERIK OSORIO OLIVAREZ,                      )
                                                 )
12                   Defendant.                  )
                                                 )
13
            The above named Defendant has, under oath, sworn or affirmed as to his financial
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15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
            IT IS HEREBY ORDERED that Kevin P. Rooney be appointed to represent the above
19
     defendant in this case effective nunc pro tunc to October 23, 2024.
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            This appointment shall remain in effect until further order of this court, or until the
21
22   pending criminal matter and any direct appeal is resolved, whichever is first.

23
     IT IS SO ORDERED.
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25      Dated:     October 24, 2024                            /s/ Barbara A. McAuliffe               _
                                                        UNITED STATES MAGISTRATE JUDGE
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